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          KENNETH KINNARD
          3049 Sacramento St.                                                   �
      1   San Francisco, Ca 94115                                              E
                                                                                      <i/k
          Phone 415 567-9034
      2
          kraykinnard@yahoo.com                                      APR 2 6 2022
      3
                                                                 CLERK, U.S. DISTRICT COURT

                          UNITED sTATEs DisTRidF c:�rffiFrDF CALIFORNIA
      4                                         RT
      5

      6   NORTHERN DISTRICT OF CALIFORNIA SAN FRANCISCO
      7

      8                                        CV22 0 2 534 SK
      9   KENNETH KINNARD                                   INDEPENDENT
     10
                    Plaintiffs;                             ACTION IN EQUITY
     11                                                     TO VACATE JUDGMENT
              vs.                                           l.FOR EXTRINSIC
     12
                                                            FRAUD ON THE COURT
     13                                                     BY OFFICERS OF THE
          STEVE NAVARRO IND, RALPH                          COURT
     14
          ROGERS IND, PHIL ROGERS
                                                            HAZEL ATLAS ACTION
t;   15

     16
          IND, MARYANN ROGERS IND,
          ROGERS TRUCKING S&S
          TRUCKING, KRYSTAL TRUCKING
                                                            FABRICATING AND
                                                             FILING FALSE
     17
          THE JOINT ASSOCIATION OF                             DOCUMENTS
          ROGERS TRUCKING AND S&S                            STATE COURT CASE
     18   TRUCKING, THE S.F. BAY                                  #98-994396
          AREA LOCAL TRUCKERS CO-OP
     19                                                     DIRECTLY INTO THE
          hereinafter
          (THE S.F. CO-OP) LAVAUGHAN                        COURT FED C994565
     20
          MOORE IND & SECRETARY OF
     21   S.F. CO-OP, ACE WASHINGTON                l.MISREPRESENTATION BY
     22
          IND & PUBLICITY AGENT FOR                 ATTORNEYS TO THE COURT
          S.F.CO-OP JIMMIE POTTS IND                 2.CONCEALMENT/PREVENT
     23   AND MEMBER CO-OP, THE                      PARTY FROM APPEARING
          JOINT ASSOCIATION OF S&S
     24
          AND ROGERS TRUCKING AS
                                                     5.CONSPIRACY 6.AIDING
     25   S.F.CO-OP PEAK ENGINEERING                  ABETTING ?.COLLUSION
          THE S.F. BAY AREA LOCAL                    8.OBSTRUCTION JUSTICE
     26   TRUCKERS CO-OP, EDWIN                      9.14TH AMENDMENT VIO:
     27
          WILSON IND, ALISON DANIELS                 42 USC1983 ATTACHMENT
          IND, BENJAMIN LUSK A                        OF AMENDED COMPLAINT
     28   DISBARRED ATTORNEY
                                                  AS THOUGH FULLY SET FORTH


          INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 1
     (WORKING   OUT OF THE
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     OFFICES OF DEFENDANT FRANK
     DEBENEDETTO) FRANK
     DEBENEDETTO(DETTO) ,IND.
 1   MICHELLE KOSKELLA,IND
     WILLIAM HOLSINGER,IND
 2   ALISON DANIELS,IND CLAUDIA
 3
     BRISSON,IND JOHN
     BOONE,IND LARRY MANN,IND
 4   JOYCE ANN BOONE,IND RALPH
     ROGERS,IND PHIL ROGERS,IND
 5
     MARYANN ROGERS,IND KRYSTAL
 6   TRUCKING RALPH ROGERS DBA
     ROGERS TRUCKING, PHIL
 7   ROGERS, STEVE NAVARRO,
 8
     FRANK SANCHEZ IND, SNSANDS
     CORPORATION DBA S&S
 9   TRUCKING NADINE SHELLY,
     PEAK ENGINEERING THE SAN
10
     FRANCISCO BAY AREA LOCAL
11   TRUCKERS CO-OP, RALPH
     ROGERS MEMBER OF, S.F. BAY
12   AREA TRUCKERS CO-OP,
13
     MEMBERS, RALPH ROGERS,
     PAUL ELIZONDO ATTORNEY FOR
14   CO-OP, AL CURRY,MEMBER SF
     BAY AREA TRUCKERS CO-OP
15
     JERROLD TAYLOR,SF BAY AREA
16   TRUCKERS CO-OP, PAUL
     ELIZONDO IND ACE
17   WASHINGTON,PUBLIC RELATION
18
     LOCAL TRUCKERS CO-OP,
     LAVAUGHAN MOORE SECRETARY
19   CO-OP, THE JOINT
     ASSOCIATION S&S&ROGERS
20
     COMPANIES, S&S TRUCKING,
21   S.F. BAY AREA TRUCKERS
     CO-OP, AL CURRY IND AND
22   MEMBER S.F. BAY AREA LOCAL
23
     TRUCKERS CO-OP, GERALD
     TAYLOR IND MEMBER S.F. BAY
24   AREA LOCAL, JOE POWELL,
     TRUCKERS CO-OP, MARGARET
25
     STROOT, JOAN HALL,HELEN
26   MOHR, CHUCK HAUPTMAN
     SCOTT SUGARMAN DOES 1-100
27                  Defendants:
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 2
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 1                                                                            O U T LIN E
2
       Parties...........................................................................................................3-7
3
      JURIDSICTION................................................................................................8
4
       Plaintiff met with
5

6
     · Co-conspirators whistleblowers............................................................. 14

 7    Outline for HAZEL ATLAS ...................................................... 14, 22,24, 26,35,
 8    Plaintiff entitled to relief .............................................................................33
9
      State court action .............................................................................12,18, 24,
10
      Federal court action .............................................................................. 46,68
11
      Defendants LUSK, DEBENEDETTO,BRISSON..............................................47
12
      FIRST CAUSE OF ACTION
13

14    Attorney EXTINSIC FRAUD ON COURT......................................................... 63
15   SECOND CAUSE OF ACTION
16   Concealment, misrepresentation, obstruction justice
17
     42 USC 1985 ............................................................................................... 70
18
     THIRD CAUSE OF ACTION
19
     42 USC 1983, 14th AMENDMENT VIO.......................................................72
20

21
     4TH CAUSE OF ACTION
22   Aiding & abetting defendant Rogers/S&S.................................................. 73
23    Transcript attack on mandate 4/27/99...........................................attached
24
     PRAYER...................................................................................................... 77,78
25
      STATE COURT FABRICATED COMPLAINT
26
      FABRICATED COMPLAINT LAVAUGHAN MOORE WAS A CO-OP MEMBER
27

28
      AND CO-CONSPIRATOR * 994396
           Case 3:22-cv-02534-SK Document 1 Filed 04/26/22 Page 4 of 81




 1   IDENTICAL TO PK COMPLAINT 984153 NON CO-OP LEGITIMATE COMPLAINT
 2
      Superior court calendar September 3, 1998...........................attached exhibit
 3
      Declaration served on defendants.............................................attached exhibit
 4
     Lavaughan Moore Substitution (ALTERED) of attorney and support
 5

 6
     · Declaration Ace Washington, Jimmie Potts, Mario Rogers                    attached exhibit
 7   District Court Order May 08, 2002                                           attached exhibit
 8   PK "seeks same relief as in prior motion "................................attached exhibit
 9
     BOARD OF SUPERVISORS RESOLUTION to sue DEFANDANT ROGERS, DBL 0
10
     District Court Order Plaintiff proposed amend "same relief prior motion"
11
     Draft Amended complaint .........................................................attached exhibit
12

13
                                       1 attached Layout

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
       Case 3:22-cv-02534-SK Document 1 Filed 04/26/22 Page 5 of 81



     INTIFF complaints against defendants as follows:
 2
             THE PARTIES
 3

 4     1.    PLAINTIFF          Kenneth R. Kinnard is owner of P&K
 5
            trucking. P&K Trucking (PK) was a business
 6

 7          started in Texas by my Grandfather, Great Uncles
 8
            and Father
 9
            in the 1930's. P&K at all times relevant herein
10

11          was qualified for opportunities opened to
12
            minority businesses as set forth in this
13

14
            complaint.

       2. DEFENDANTS The San Francisco Bay Area Local
15

16

17          Truckers CO-OP hereinafter the (CO-OP) ( LIC
18
            #181799, The Official News Paper for the Bay
19

20
            Area Truckers and Contractors LIC #175450

21          Paul Elizondo Attorney for the (CO-OP)
22
            Al Curry puller of Rogers equipment and member
23

24          of the (CO-OP) member of Double O, a partnership
25
            with Rogers previously ruled a conduit by the
26
            HRC Jerrold Taylor former PULLER for ROGERS
27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 3
       Case 3:22-cv-02534-SK Document 1 Filed 04/26/22 Page 6 of 81



 1

 2      equipment         member of (CO-OP)contractor HERRICK
 3
          steel Haul.
 4

 5
         Ace Washington Bay Area Local Truckers and

 6        Contractors: and member of the (CO-OP)
 7
          co-conspirator and whistleblower
 8

 9        Alex Humphrey, Photographer for the (CO-OP)
10
          co-conspirator and whistleblower
11
          LaVaughan Moore, Secretary for the (CO-OP)and
12

13         co-conspirator and whistleblower.
14
          Ralph Esquivel           member of the (CO-OP)
15

16         Steve Navarro, former puller OF Rogers

17        equipment, President of the (CO-OP) and owner of
18
           S&S Trucking.
19

20         S&S Trucking would allow the �neligible ROGERS
21
           to dispatch his trucks on minority job. S&S
22

23
           would illegally place revenue on his S&S books

24         for minority credit in violation of DBE law.
25
            The Joint Association of S&S and Rogers
26

27         Trucking (Joint Assoc)controlled the CO-OP
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 4
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 1

 2        complaints were filed with the HRC Feb 1998
 3
           against this bogus entity entity failed to
 4

 5
          respond-threatened CO-OP members whistleblowers

 6        with a lawsuit-lawsuit filed by S&S Agents MPV
 7
           Law firm Ralph Rogers and Phil Rogers and
 8

 9        Maryann Rogers
10
           owners of Rogers Trucking and Krystal Trucking
11

12
           Claudia Brisson attorney for Al Cain. Note Al

13         Cain was not allowed to join the (CO-OP)
14
           John Boone and Larry Mann Attorney for plaintiff
15

16         and illegally became a plaintiff for defendant
17
           CO-OP member LaVaughan Moore:
18
            In this action defendant BOONE/MANN conspired
19

20          and colluded with defendants attorney CONNIVED
21
            to defeat plaintiffs' claims                  and also aided
22

23          and abetted defendant Joint Association of S&S

24          and Rogers in continuing to earn revenue from
25
            Federal Agencies and in boycotting injuring
26

27        plaintiff PK. and DEFRAUDING THE COURTS
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 5
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 1

 2        Obstructing Justice/keepin co-conspirators
 3
          whistleblowers away from the Courts wherein
 4

 5
          plaintiff would have won his case.                      And

 6        retaliating against co-conspirators
 7
          whistleblowers
 8

 9         Joyce Ann Boone, Legal Sect for Defendant John
10
           Boone
11

12
          William Holsinger and Michelle Koskella

13        Attorneys for Steve Navarro, S&S Trucking and SN
14
           Sand Corp conspired and colluded with defendant
15

16         attorney's aided and abetted the (Joint Assoc).
17
           Edwin Wilson and Alison Daniels Attorney for
18
           Steve Navarro, S&S Trucking, Frank Sanchez S&S
19

20         Trucking, Nadine Shelly Peak Engineering,
21
           SNSands, Ralph Rogers, Phil Rogers Maryann
22

23         Rogers Rogers Trucking and Krystal Trucking and

24         Defendants Wilson/Daniels
25
          were attorney' s           also for the SAN FRANCISCO
26

27        HOUSING AUTHORITY:
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 6
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 1

 2

 3
          Gary Timothy Lee and Ben Lusk
 4

 5
          Ben Lusk        DISBARRD attorney for the (CO-OP) and
 6        plaintiff- LUSK'S whose                DISBARMENT was UNKNOWN
 7
          TO PLAINTIFF
 8

 9        AND (CO-OP) co-conspirators/whistleblowers)
10
           Frank Debenedetto working with Ben Lusk attorney
11

12
           for the (CO-OP) Lavaughan Moore and plaintiff.

13         Debenedetto knew of Lusk's disbarment but joined
14
           him to signed all documents, committed MAIL
15

16         FRAUD conspired with defendants sent an illegal
17
           substitution of attorney form through the U.S.
18
          MAIL.
19

20         Scott Sugarman attorney placed on plaintiff
21
           docket
22

23        DOES 1 through 100 are other entities
24       participated in the wrongs alleged herein whose
25
         names or participation plaintiff do not currently
26

27     know sufficiently well to plead them at this time.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 7
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 1

 2

 3
                       JURISDICTION
 4

 5    District Courts have equitable powers. Plaintiff
 6
     request this Court invoke it's Equitable
 7

 8   Jurisdiction         and Principles, 28 U. S. C 1331,
 9
     Obstruction of Justice 42 USC 1983 and 1985,
10
     Keeping a party and witnesses AWAY FROM THE COURT
11

12    Violation of the U.S. THE FOURTEENTH AMENDMENT
13
     Racketeering Influenced and Corruption Act 18 USC
14

15
     Section 1962, Cartwright Act civil rights vio.

16

17
          1. Plaintiff Kenneth Kinnard P&K Trucking brings
18

19   this HAZEL ATLAS Independent 60b Action in Equity to
20
     OVERTURN JUDGMENTS in FEDERAL and STATE COURT as a
21
     result of Attorney EXTRINSIC FRAUD and conspiracy
22

23   perpetrated directly on the Courts by Officers of
24
     the Court. Defendants cannot be prejudiced due to
25

26   their fraud on the Court. Defendants joined forces
27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 8
      Case 3:22-cv-02534-SK Document 1 Filed 04/26/22 Page 11 of 81




 1

 2

 3
     and concerted their fraud preventing plaintiff from
 4

 5   presenting his case to the court and PREVENTING A
 6
     PARTY Defendant LaVaughan Moore from appearing and
 7
     PREVENTING co-conspirators/whistleblowers with
 8

 9   firsthand direct evidence against Defendant Steve
10
     Navarro S&S Trucking Ralph.Rogers Rogers Trucking
11

12
     The Joint Association of S&S Trucking and Rogers
13   Trucking and the CO-OP from PRESENTING THE EVIDENCE
14
     to the COURT wherein plaintiff would PREVAIL.
15

16     2. Defendant attorneys JOINED FORCES and formed a
17
     conspiracy in 1997 and thereafter gained the
18

19
     confidence of plaintiffs that deceived victims                               into

20   granting authority to defendants attorneys' to make
21
     filings with the Court in their name and then
22

23   sabotage the filings. Defendant Attorneys' had no
24
     intention allowing MATERIAL facts to come to the
25
     COURTS attention and settle plaintiffs case.
26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 9
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 1

 2       3.    As early as 1998 Defendant BOONE/MANN
 3
     violated BAR and Court rules by filing a complaint
 4

 5   in the name of co-conspirator LaVaughan Moore
 6
     (MOORE) to deceive the Court and prevent the COURT
 7
     from obtaining the DIRECT FIRSTHAND INCONTROVERTIBLE
 8

 9   evidence that would have brought relief to plaintiff
10
     and the whistleblower victims who were victims of
11

12
     retaliation.

13      4.Defendant attorneys would repeatedly violate
14
     Court Orders, for amendments, refused to do
15

16   discovery, failed to join a necessary party
17
     (ROGERS TRUCKING) and CO-OP members.
18
     MISREPRESENTED their claims to the COURT. When
19

20   plaintiff would fire the fraudulent attorney it
21
     would be too late (even though plaintiff tried to
22

23   change the MISREPRESENTED FRAUDULENT FILING)
24

25

26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 10
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 1

 2
     note:      All during the proceedings defendants were

 3
     able to fraudulently SHIELD defendant MONOPOLY the
 4

 5
     Joint Association of S&S Trucking and Rogers

 6   Trucking mentioned herein from the jurisdiction of
 7
     the Court thus keeping the BOYCOTT, THREATS and
 8

 9   OPPRESSION operating to terrorize and demoralized
10
     Plaintiff and          th�eaten co-conspirators who became
11
     whistleblowers.
12

13    5. THE JOINT ASSOCIATION WAS NOT CERTIFIED TO WORK
14
      ON THE BART TO SAN FRANCISCO AIRPORT AND CONTINUED
15

16    TO FILE FALSE CLAIMS for PAYMENT with the DOT on
17
      the 26 million.
18
      5.    Defendant attorney conspiracy would deceive
19

20   plaintiff        take advantage of your �eakness and claim
21
     to represent you then time their fraud with the
22

23
     Court schedule deadlines in a way to DECEIVE and

24   prevent plaintiffs from ever having an opportunity
25

26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 11
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 1

 2   to reverse the fraud so as to fully present their
 3
     meritorious cases to the Court.
 4

 5

 6
                  STATE COURT 97-984153
 7

 8        6. In December 1996 After discovery of the CO-OP
 9
     conspiracy PK visited the offices of defendant LARRY
10

11   MANN with documents and evidence and a plea for help
12
     as    PK   partner       DWIGHT      KINNARD       health      was    failing
13
     (Dwight died in November 1998)                    and our trucks were
14

15   parked on the streets and we had no money.                               note:
16
     Defendants BOONE and MANN filed a complaint titled
17

18
     "interference               with           prospective               economic
19   relationship"
20

21
          7. When PLAINTIFF filed suit in Jan 1997. My late
22

23   Brother DWIGHT KINNARD who was an amputee was trying
24   to get his affairs in order and SAVE THE COMPANY
25

26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 12
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 1   trusted and believed in JOHN                    BOONE (BOONE) who was
 2
     also handicapped wheelchair bound DWIGHT thought he
 3
     had a PROMISE of HONESTY .                 Defendant attorneys JOHN
 4
     BOONE (an ANTITRUST EXPERT) and DEFENDANT LARRY MANN
 5
      actions to take advantage of that trust was
 6

 7
      UNCONSCIONABLE. They failed to comply with judges

 8    orders, failed to do discovery, refused to attend
 9   settlement conference on April 5, 1999 CONNIVED for
10    the defeat of plaintiffs claims.
11
               8.   Defendant BOONE AND MANN also Failed to
12
     notify the Court of WHISTLEBLOWERS Ace Washington,
13
     LaVaughan Moore and Jimmie Potts who came to their
14
     office      just     before the         settlement conference                  and
15
     admitted their part in the BOYCOTT of plaintiffs
16

17
     business       and that they had notified fellow CO-OP
18   members that they would not take part in defendant
19   ROGERS      AND      NAVARRO'S        SCHEME       to     MANIPULATE           and
20   defraud THE STATE AND FEDERAL COURTS.
21
          9. The SCHEME included ROGERS AND NAVARRO DENYING
22
     ANY KNOWLEDGE OF THE CO-OP.
23
      KEVIN LAWSON a CO-OP member FALSELY CLAIMED he was
24
     the actual PRESIDENT OF THE CO-OP and was always the
25

26
     PRESIDENT.

27    See: CO-OP member JERROLD TAYLOR DEPOSITION JUNE
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 1 3
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 1
                             June 23, 1999
 2
                       PAGES 34 LN 24,PAGE 35 LN 1-10
 3
           10.   Defrauding the SUPERIOR COURT in PLAINTIFFS
 4
     CASE     by filing a              STATE COURT complaint in CO-OP
 5

 6
     member      DEFENDANT       LAVAUGHAN        MOORE'S      name     in March
 7   1998 claiming in the complaint that CO-OP DEFENDANT
 8   MOORE had the same identical injuries as PLAINTIFF
 9   PK TRUCKING who was not a member of the CO-OP and
10
     was tpe company being boycotted.
11
       11.       After CO-OP minority members admitted their
12
     part     in       the     conspiracy       to     destroy       plaintiff's
13
     company (P&K TRUCKING)              (PK) , non minority member and
14

15
     organizers of the                 CO-OP     Defendant        Ralph      Rogers
16   and     Defendant         Steve     Navarro       hired      attorneys        to
17   devise        a    SCHEME     to     escape      their       liability        by
18   preventing          plaintiffs         claims        from      ever      being
19
     adjudicated.            By orchestrating a scheme to MISLEAD
20
     AND DEFRAUD THE COURTS.
21

22
                   PLAINTIFFS             CASE       WAS       NEVER        FULLY
23                 PRESENTED TO THE COURTS.
24

25

26
       PLAINTIFF HAS MET WITH CO-CONSPIRATORS
27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 14
       Case 3:22-cv-02534-SK Document 1 Filed 04/26/22 Page 17 of 81



 1              DEFENDANT        CO-CONSPIRATORS            LAVAUGHAN         MOORE
 2
            (MOORE) AND ACE WASHINGTON (ACE) HAVE REQUESTED
 3
           AND HAVE MET WITH PLAINTIFF JANUARY-MARCH 2022
 4
           TO      SYMPATHIZE         AND       DECLARED        PLAINTIFF           AN
 5
           ABSOLUTELY INNOCENT VICTIM OF A SCHEME BY THE
 6

 7
           CO-OP      TO    DRIVE      PLAINTIFF        AND     OTHER       AFRICAN

 8         AMERICANS OUT OF THE TRUCKING INDUSTRY IN SAN
 9         FRANCISCO AND TO HIRE                 ATTORNEYS TO DEFILE THE
10         COURT AND CONCEAL FROM THE COURTS THE CONSPIRACY
11         THROUGH FRAUD AND PREVENTING THOSE INJURED FROM
12
           PRESENTING          THEIR       CASES       TO     THE      COURT        BY
13
           FALSIFYING          CO-OP        MEMBER       CLAIMS        WITH        THE
14
           LEGITIMATE CLAIMS OF INJURY BY P&K TRUCKING TO
15
           KEEP LAVAUGHAN MOORE AND CO-OP AWAY FROM THE
16

17
           COURT.
18        They went on to say:
19
           WE COME FORWARD TO ADMIT OUR PART IN THE SCHEME
20
           AND ASK THE COURT TO HAVE THE LEADERS OF THE
21

22         CONSPIRACY           TO       COME        FORWARD          AND          TAKE
23
           RESPONSIBILITY AND BE HELD ACCOUNTABLE AND TO
24

25      REVEAL THE LAWYERS PART IN DEFRAUD AND INTERFERING
26
             WITH     THE     COURTS      FROM     OPERATING        PROPERLY         TO
27
     ADJUDICATE THIS HORRIFIC INJUSTICE.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 15
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 1

 2

 3
     UNUSUAL AND EXTRORDINARY CIRCUMSTANCES
 4

 5
       12.        It   would     be    UNCONSCIONABLE         and    a   MANIFEST
 6
     INJUSTICE
 7

 8      and       a     GRAVE    MISCARRIAGE        of     JUSTICE       to        have
 9
     judgments remain in effect against PK TRUCKING who
10

11
     were the          victims     of     this    COURT FRAUD SCHEME and
12   CONSPIRACY.
13
       13. The WHISTLEBLOWERS told me of the meetings 2
14

15   Saturdays          a     month     at   DEFENDANT        JERROLD         TAYLOR
16
     offices.          The    scheme    to BOYCOTT PLAINTIFFS COMPANY
17
     and a SECRECY CLAUSE in the CO-OP.
18

19       14.          They told me about the SAN FRANCISCO LOCAL
20
     TRUCKERS CO-OP             {CO-OP)and their role as members of
21

22   the CO-OP CONSPIRACY lead by Defendants CO-OP member
23
     defendant RALPH ROGERS and STEVE NAVARRO to carry
24
     out      a       GROUP     BOYCOTT      of   PLAINTIFFS         COMPANY         PK
25

26   TRUCKING and the campaign to destroy PK and their
27
     plan to get away with it by DEFRAUDING THE COURTS.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 16
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 1
      15. Plaintiff is the oldest Black trucking firm in

 2   San Francisco. Plaintiffs Grandfather, Great Uncles
 3
     and Father started the company in Texas and
 4

 5   relocated to San Francisco in the mid 1940's.
 6
      16. Plaintiff began working with the Family in 1951
 7
     and later took over the business in the mid 1960's
 8

 9   after     the     retirement       of    my    Great Uncles and the
10
     passing of the 1964 Civil Rights Act.
11

12        17. In the mid 1960's Plaintiff and other minority
13
     truckers would apply for work with CCSF Agencies and
14
     SF Housing Authority under WACO's agreement with HUD
15

16   to    help      implement       new     regulations        and     EXECUTIVE
17
     ORDERS       of      Honorable          President         Richard        Nixon
18

19
     estasblishing Affirmative Action Officers to monitor

20   contracts.
21
             THE CAMPAIGN TO DESTROY P&K TRUCKING BY
22

23   18. Included Ace Washington hiring a photographer
24
     defendant Alex Humphrey to take pictures of PK
25
     trucks being working on a Lerer Brothers equipment
26

27   shop.
28




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     19.    writing letters to plaintiff insurance company
 1

 2   with      photographs           and      FALSE        information             that
 3
     plaintiffs        equipment        was        dangerous      on    the        road
 4
     causing PK insurance cancellation.                      Writing the PUC
 5

 6   causing PK regulatory problems.
 7
        20. Defendants ROGERS and PULLER S&S by having the
 8

 9   MARKET SHARE OF THE WORK IN SAN FRANCISCO was able
10
     to effectuate a GROUP BOYCOTT of plaintiffs company.
11
     LaVaughan Moore Secretary to the CO-OP was at the
12

13   meetings from 1993 to 1998 wherein Steve Navarro
14
     President of the CO-OP ordered the BOYCOTT of P&k
15

16
     Trucking which was devastatingly effective causing

17   the destruction of P&K Trucking.
18

19
      PK FILES SUIT AGAINST S&S AND THE CO-OP
20
                           STATE COURT 97-984153
21

22      21. In December 1996 After discovery of the CO-OP
23
     conspiracy PK visited the offices of defendant LARRY
24

25   MANN      with          defendants            anonymous       letters          and
26
     documents,        evidence        and     a    plea    for     help      as     PK
27
     partner DWIGHT KINNARD health (was told he had about
28




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 1

 2

 3
     a year to live) was failing and our remaining trucks
 4

 5   were on the street under threat of towing.
 6
      22. Dwight my BROTHER and partner in PK (who died
 7
     in November 1998) would anger his wife by getting up
 8

 9   from his hospital bed at the VETERANS HOSPITAL at
10
     48th avenue S. F. ,           to go . to DEFENDANT BOONE'S AND
11

12   MANN'S office to            2 Embarcadero to check on progress
13
     of the PK claim. On one occasion DWIGHT fell ill and
14
     EMERGENCY FIRE ENGINE UNITS had to come to DEFENDANT
15

16   MANN'S Fell Street Office to revive him.
17
        note:       The stress from the oppression and boycott
18

19
     caused      DWIGHTS'         uncontrollable           blood      sugar        and

20   pressure to soar and his general. being was extreme
21
     NERVOUSNESS he JUST couldn't make it.
22

23      23. He trusted DEFENDANT BOONE AND DEFENDANT MANN.
24
     As DEFENDANT BOONE was wheelchair bound DWIGHT who
25
     had become bound to a wheelchair due to amputation
26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 19
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 1
     of   his     leg     believed       in     DEFENDANT       BOONE.       Dwight

 2   believed he had a promise from DEFENDANT BOONE and
 3
     felt    defendant        BOONE      felt     some     empathy      from       the
 4

 5   DEFENDANT BOONE.
 6
            NOTE: When defendant MANN introduced plaintiffs
 7

 8
     to defendant BOONE we had no idea they were having

 9   trouble we were told by MANN that BOONE was a big
10
     time lawyer.
11

12   soon though his wife and legal secretary began to
13
     object       to     everything         def     JOYCE       BOONE      equated
14
     fairness to plaintiffs to her husbands BOONE'S and
15

16   their prosperity-even though under BAR professional
17
     rules of conduct were the clients and the loyalty
18

19
     dedication and RECOVERY was to go to plaintiffs'.
20   defendant         JOYCE BOONE made it a. very dark place,
21
     cussing plaintiff out if plaintiff enquired about
22

23   the case and never offering CONDOLENCES for DWIGHT
24
     death Nov 18, 199 or sympathy for plaintiff Mothers
25

26
     illness when trucks were towed we pleaded for                            get

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 20
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     1   an    injunction           for    the    BOYCOTT       help-NO RESPONSE
 2       VIOLATED RULES PROFESSIONAL CONDUCT never appearing
 3
         at hearings,         violating court orders never INFORMED
 4

 5       US    OF   HEARINGS        or    ENTERING       INTO     AGREEMENTS           with
 6
         DEFENDANTS:         keeping      WHISTLEBLOWERS            away    from        the
 7

 8
         COURTS the BOONE defendants began traveling all over

 9       the     country      to    the    MERCHANDISE         MART     CHICAGO AND
10
         BUYING HOUSES IN PALM SPRINGS AND OAKLEY
11

12       . 24.      DWIGHT was suffering with a constant burning
13
         pain in his body had no appetite. DWIGHT wanted to
14
         make sure the FAMILY was OK. He wanted an INJUNCTION
15

16       against the CO-OP to end the BOYCOTT and save our
17
         company.
18

19             25. We were also suffering from the additional
20
         weight      of    the     fact    that      our    beloved        MOTHER       was
21
         suffering        from     cancer      and    was     worried       about       the
22

23       company.       (our beloved MOTHER would die in November
24
         2002)      Dwight         believed      he     had     a     PROMISE          from
25

26
         DEFENDANT BOONE and felt DEFENDANT BOONE also had

27

28




         INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 21
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          some empathy for us. But defendant BOONE and MANN
 1

 2        connived for our defeat.
 3
          DEFENDANTS          BOONE        AND      MANN             ACTIONS        WERE
 4
          UNCONSCIONABLE THEY DEFILED THE COURT AND BETRAYED
 5

 6        PLAINTIFFS DENIED PLAINTIFFS RELIEF AND CONNIVED
 7
         WITH DEFENDANTS TO DEFEAT OUR CLAIMS COMMITTED
 8

 9       ADDITIONAL FRAUDULENT ACTS TO CONFUSE PLAINTIFFS AND
     I
10
          FURTHER THE ILLEGAL SCHEME THAT LED TO PLAINTIFF'S
11
          DESTRUCTION PREVENTED LAVAUGHAN MOORE AS A WHISTLE­
12

13        BLOWER FROM APPEARING BEFORE THE COURT PROPERLY
14
          CAPACITY BECAUSE MOORE HAD EVIDENCE ADMISSIBLE
15

16
          FIRST HAND EVIDENCE THAT WOULD CONDEMN DEFENDANT

17        S&S,ROGERS,THE CO-OP AND JOINT ASSOCIATION S&S
18
          AND ROGERS TRUCKING COMPANIES IN JOINT ASSOCIATION
19

20

21
                                AS IN HAZEL ATLAS
22
                                 Here DEFENDANTS used
23

24          FABRICATED DOCUMENTS in the State Court Action
25              A Complaint in the name of defendant LaVaughan
26
                Moore and consolidated the FABRICATED complaint
27
                         with plaintiffs. Plaintiffs lawyer
28




          INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 22
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              ILLEGALLY became a lawyer for the DEFENDANT
 1
                 To Prevent MOORES testimony from the Court.
 2
      In the FEDERAL COURT action Defendant Attorneys
 3
      used a DISBARRED ATTORNEY BEN LUSK (a friend of
 4

 5
      defendant EDWIN WILSON) who was working with and out

 6    of defendant FRANK DEBENEDETTO                   office to
 7                defraud the court and plaintiff.
 8

 9

10
                            STATE COURT CASE            97-984153
11

12
                       FEDERAL COURT CASE C-99-4565:MMC

13       26. As in HAZEL ATLAS, The FRAUD ON THE COURT did
14
     not involve just a single litigant. The fraud
15

16   involved the defrauding of the City County San
17
     Francisco Minority Business Program and the federal
18
     agencies i.e. The Department of Transportation was
19

20   also FRAUD on the BART S.F. AIRPORT PROJECT (
21
     Defendant CO-OP SOLD RIGHTS TO STEEL HAULING
22

23   Federally financed project) AND other Federal
24   Agencies.
25
          27. And a RACIAL MOTIVE by driving Plaintiff and
26

27
     all of the African American Trucking businesses who

28   opposed defendants CO-OP out of business and by



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 1   substituting plaintiff and other black and minority
 2
     truckers on the BART to SFO project and other DBE
 3
     projects       for     Defendants        who      were    ineligible          for
 4
     participation in the program.
 5

 6

 7                               FABRICATED DOCUMENTS
 8
                             IN STATE COURT ACTION
 9
            28. DEFENDANTS ATTORNEY BOONE, MANN, HOLSINGER,
10

11
     KOSKELLA       NAVARRO,        ROGERS       AND    MOORE     CONSPIRED         TO

12   CONVERT A NAMED CO-OP MEMBER LAVAUGHAN MOORE NAMED
13   ORIGINALLY        AS    A     DEFENDANT      INTO     A    PLAINTIFF          THEN
14   CONSOLIDATE          PLAINTIFFS        CASE       97-984153        WITH        THE
15
     FABRICATED        CASE in March 1998 CASE                   #98-994396 TO
16
     SEND PLAINTIFF'S 2 YEAR OLD CASE THAT THE MANDATE
17
     HAD JUST COME DOWN FROM THE APPEALS COURT
18
     BACK INTO LAW AND MOTION TO PREJUDICE PLAINTIFF CASE
19
     AND TO DEFEAT PLAINTIFFS CLAIMS.
20

21
            29.      Defendant        stated        that       the    cases        are
22   consolidated for all pretrial matters-th.en proceeded
23   to amend MOORE'S 994396 fraudulent complaint (MOORE
24   HAD    REQUESTED         IT    NOT     BE    AMENDED       AND     SIGNED        A
25
     SUBSTITUTION OF ATTORNEY FORM 1/21/99) with
26
     contradictory allegations of governmental
27

28




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 1
     involvement triggering the Noer Pennington defense
 2
     that was never a part of my case.
 3

 4

 5
      30. AS IN HAZEL ATLAS GLASS - FABRICATED DOCUMENTS

 6   WERE     THE      MOORE      COMPLAINT           994396     WAS     USED       BY
 7   DEFENDANT          BOONE/MANN/HOLSINGER/KOSKELLA/WILSON                         &
 8   DANIELS
 9
          31.Defendants BOONE/MANNFiled with the State Court
10
     Case     98-994396        was     filed.         Those    documents           were
11
     fraudulently           (Amended-Altered)            several       times        by
12
     Attorney        Defendants         to       keep     plaintiffs         claims
13

14
     fraudulently           consolidated           with        the     fraudulent

15   complaint 98-994396 and caused plaintiffs claims to
16   never have a chance to                be adjudicated.
17          note: altered by adding governmental involvement
18
     to     when     the      CO-OP        was    a     SHAM     according          to
19
     whistleblowers co-conspirators DEFENDANTS ATTORNEYS
20
     were      obstructing          justice       keepi�g       co-conspirator
21
     testimony from the Courts where plaintiff would have
22

23
     prevailed.

24

25                          PREJUDICE
26          32.     More     than      a     MATERIAL         MISREPRESENTATION
27   Plaintiff        case      was     forever         PREJUDICED       and        the
28
     Impartiality of the Court was totally disrupted.



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 1
     Opportunity for fully presenting his case was lost .
 2
        33.    Even after LAVAUGHAN MOORE became suspicious
 3
     at BOONE/MANN not showing up at the Courts September
 4

 5
     3, 1998 on the BOGUS COMPLAINT. She began to realize

 6   the      fraud       on   1/21/99        and     demanded        defendants
 7   attorneys BOONE/MANN drop her case.
 8            34.     LAVAUGHAN       MOORE      also      served      a    1/21/99
 9
     declaration on DEFENDANTS BOONE/MANN and Defendants
10
     STEVE NAVARRO attorney Defendant HOLSINGER and
11
     KOSKELLA demanding no more amendments or activity
12
     on the complaint. MOORE wanted the complaint dropped
13

14
     in favor of new counsel and to go to FEDERAL COURT.

15         35. MOORE signed a substitution of attorney form
16   1/21/99. That Defendants BOONE FRAUDULENTLY ALTERED
17   by signing his (BOONE) name in the space reserved for
18   the client (MOORE) .            MOORE was directed to sign her
19
     name in the slot reserved for attorney BOONE .
20

21
     CHRONOLOGY LEADING UP TO REQUEST FOR LEGAL HELP BY
22
       CO-OP MEMBERS.
23

24
           36. Feb 1998          C O-OP member local truckers REBEL
25   against        DEF    ROGERS       and     NAVARRO       and     the      JOINT
26   ASSOCIATION          OF   S&S    Trucking       and    Rogers         Trucking:
27   File complaint with Kathy Perry & Kevin Williams of
28




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 1
     the Monitoring Agency THE SF Human Rights Commission
 2
     (HRC)
 3
      Charge them with MONOPOLY
 4

 5

 6
         37. Feb 1998 Local Truckers demanded work on BART
 7   SFO contract in accordance with compliance with HRC
 8   regulations         and    SF    Airports        LOCAL      TRUCKER       FIRST
 9   POLICY
10
         note: Dec 16, 1997 SF Airport Commission Director
11
     John Martin AIRPORT COMM:ISSION RESOLUTION 97-0335
12
                           (SF TRUCKERS FIRST POLICY)
13
                 May 20, 1998 Mayor Willie Brown letter
14

15
                 that all trucking went to one minority 9-10

16                  million was for LOCAL TRUCKERS:
17       38. Feb 1998 S&S is a firm                   not certified to do
18
     the work        but defies agency along with ROGERS and
19
     continues to FUNNEL ROGERS A NON MINORITY COMPANY
20
     trucks through S&S dispatch on SF Airport job. CO-OP
21

22
     member Jerrold Taylor and CO-OP                      President            Steve
23   Navarro a member of the Joint Association of S&S
24   Trucking sell the hauling rights for 1500 loads of
25   steel for the Airport for $ 238
26
     unbeknownst to the qualified LOCAL TRUCKERS FIRST
27
     CO-OP members.in VIOLATION of DOT DBE law.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 2 7
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 1

 2
       39.       Feb   1998      ROGERS    & NAVARRO send threatening
 3
     letter to the local truckers who filed complaint
 4

 5

 6     40. March June 1998 Kevin Williams HRC verifies
 7   complaint         and       sends    referral       to     Federal       Trade
 8   Commission          ALSO     warns     ROGERS      and     STEVE      NAVARRO
 9
     against RETALIATION
10
           41.         March/April        1998   La.Vaughan       Moore      visits
11
     Defendant         John      Boone/MANN       law     offices       complains
12
     about        MONOPOLY        specifically          SF     Airport        Local
13

14
     Truckers FIRST Policy the retaliation/defamation by

15   CO-OP        President        against       her      firm      Double         B&L
16   Trucking.
17     42.       April    16 ,    1998    LaVaughan Moore State Court
18
     complaint is filed by defendant BOONE/MANN against
19
     S&S
20
     note: complaint is FABRICATED make's CONCEALS from
21
             the COURT LaVaughan Moores WHISTLEBLOWER co­
22
              conspirator direct claims against ROGERS and
23

24
             NAVARRO, the $220k owed to her, the defamation
25           and the SFO Airport work bid in CO-OP name.
26

27         43,    Defendant BOONE/MANN filed MOORE complaint
28
     making FRAUDULENT REPRESENTATIONS to the COURT that



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 1
     MOORE is the VICTIM of a GROUP BOYCOTT IDENTICAL to
 2
     the PK complaint which was currently in the COURT OF
 3
     APPEALS:       the BOGUS complaint falsely alleged that
 4

 5
     MOORE     a    CO-OP             member    who      participated      in      the

 6   BOYCOTT of PK NOW suffers losses of work from the
 7   same jobs the CO-OP boycotted PK on. WHICH WAS FALSE
 8       September 3 , 1998 Judge Williamson Jr. overrules
 9
       S&S demurrer and gives S&S 30 days to answer
10

11
       44. Defendants BOONE/MANN don't show up in court:
12
     Defendants           ATTORNEY          then     allow    the      FABRICATED
13

14
     COMPLAINT           to     lie    in      LIMBO     until     plaintiff        PK

15   complaint came down from the appeals court and set
16   for      SETTLEMENT              CONFERENCE         4/6/99      and     TRIAL.
17   Defendants then attach                    consolidate the FABRICATED
18
     COMPLAINT to PLAINTIFFS legitimate complaint.
19
      45. The filing of the BOGUS COMPLAINT was part of a
20
     SCHEME        and        CONSPIRACY       by    defendants       BOONE/MANN,
21
     HOLSINGER           AND      KOSKELLA          to    confuse      and         keep
22

23
     co-conspirator/WHISTLEBLOWERS                       delayed     and   blocked

24   from presenting the DIRECT TESTIMONY to the COURT in
25   my case implicating                the S&S and ROGERS defendants.
26                 46.        That     same     FRAUDULENT         COMPLAINT       was
27   intentionally held back in LIMBO and would soon be
28
     REVIVED as part of the SCHEME after Defendants EDWIN



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 1
     WILSON and Defendant ALISON DANIELS substituted in
 2
     on     February        26,          1999    and     the      complaint           was
 3
     FRAUDULENTLY           CONSOLIDATED            with       the       FRAUDULENT
 4

 5
     COMPLAINT 994396.

 6        note:     plaintiff            would     never       have     agreed         to
 7   consolidate         his      case      with       defendant       MOORE          case
 8   994396       and    forfeit         the settlement          conference           and
 9
     trial when we were broke FAMILY was ILL.
10
          47. THE next step in DEFENDANTS FRAUDULENT SCHEME
11
     was    to    challenge         the     legitimacy         or overturn            the
12
     MANDATE ordering the Court to give me a chance to
13

14
     prove my claim.

15        48. Stop the scheduled SETTLEMENT CONFERENCE and
16   push the SCHEDULED TRIAL of plaintiffs complaint as
17   far out as possible. This FRAUD ON THE COURT denied
18
     plaintiff a chance for relief.
19
          49.November            1998      March       1999      co-conspirators
20
     ( whistleblowers)             Ace      Washington �        Alex       Humphrey,
21
     Jimmie Potts, Lavaughan Moore and Joe Powell visit
22
     the     offices        of     John     Boone       and    Larry       Mann        and
23

24
     Implicate Steve Navarro S&S Trucking Ralph Rogers
25   Rogers Trucking,             the Joint Association of S&S and
26   Rogers Trucking and the CO-OP.
27          50.      They        ( the     co-conspirators/whistleblowers
28
     presented to BOONE/MANN DIRECT FIRSTHAND



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [ Pleading t itle summary] - 30
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 1
     INCRIMINATING           TESTIMONY         against       the      defendants.
 2
     Meetings        wherein        they      planned        the     boycott        of
 3
     Plaintiff PK trucking on the jobs listed in the PK
 4

 5
     complaint.          The riding around in the car surveying

 6   plaintiff yard and spotting plaintiff trucks being
 7   worked on at Lerer Bros in San Francisco.
 8         51. The DEFENDANT STEVE NAVARRO requesting Ace
 9
     Washington         publicist        for      the     CO-OP      to     find     a
10
     photographer and get pictures so we can send them
11
     into     plaintiff PK insurance ,                the PUC and Highway
12
     Patrol.
13

14
     Ace Washington hired photographer Alex Humphrey to

15   take the pictures of trucks at Lerer Brothers having
16   engine replaced.
17     52. As pled in Plaintiff lawsuit these pictures
18
     were sent to plaintiffs Wilshire Insurance ,                              State
19
     Highway Patrol and the PUC.
20
        53. NOVEMBER 1998 TO FEBRUARY 19·9 9
21
     After reading about the death of my beloved brother
22

23
     and PK . partner Dwight Kinnard in the Chronicle and

24   Sun Reporter newspapers                   Ace Washington and other
25   co-conspirators defendants became whistleblowers.
26   BOONE/MANN             DEFRAUDED             AND          tricked              the
27   co-conspirators/whistleblowers                        from revealing all
28
     the     information necessary to IMPLICATE DEFENDANTS ,



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 1
     DEFENDANT MANN RESPONDED BY                     pulling out a yellow
 2
     tablet and stating with the photographer identifying
 3
     "I took the pictures of PK TRUCKS"
 4
           54.    Ace     Washington          revealing      details       of      the
 5

 6   beginnings of the boycott of PK Trucking. "PK SHOULD
 7   JUST MELT THEIR TRUCKS"
 8   "I    don't      know     what      to    write"       REFUSED      TO        TAKE
 9   WHISTLEBLOWERS           DIRECT        EVIDENCE.       Signed       attorney
10
     agreement       with      JIMMIE       POTTS     but    both     defendants
11
     BOONE AND MANN           continued to OBSTRUCT, CONFUSE delay
12
     the     WHISTLEBLOWER           FROM      presenting        their        direct
13
     evidence to the Court.
14

15
            55.     ALL      DURING      the      lead-up       to    plaintiffs
16   settlement conference and trial scheduled for April
17   1999 Defendants BOONE/MANN OBSTRUCTED and PREVENTED
18   WHISTLEBLOWERS CO-CONSPIRATORS CO-OP members from
19
     presenting their DIRECT, FIRSTHAND, INCONTROVERTIBLE
20
     EVIDENCE AGAINST DEFENDANTS ROGERS ' AND NAVARRO.
21
     DEFENDANT STEVE NAVARRO THREATENED THE LIFE OF ACE
22
     WASHINGTON. THE WHISTLEBLOWERS WERE LATER RETALIATED
23

24
     AGAINST.

25         56. All during this period and up to now the
26   defendants continue to profit and prosper from their
27   wrongdoing and FRAUD ON THE COURT . And plaintiff and
28
     their victims have lost everything.



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 32
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 1
            PLAINTIFF WAS AN INNOCENT VICTIM AND
 2
                          ENTITLED TO RELIEF
 3
        57. While Plaintiffs claims were in the Court of
 4

 5
     Appeals. (Appeals          Court         ruled   in     plaintiffs        favor

 6   11/1/98.) instructed            BOONE/MANN        how     to    comply with
 7   order
 8

 9
                 DEFENDANTS ATTORNEYS FRAUD WAS SO EXTREME IT
10
             HAD THE SAME EFFECT AS FRAUD WHERE A DEFENDANT
11
              ISN'T NOTIFIED: BECAUSE WE WERE NOT ALLOWED TO
12
              PARTICIPATE IN THE PROCESS FAIRLY
13

14

15       58. In February 1998 CO-OP members rebelled and
16   filed complaints with the HRC against STEVE NAVARRO
17   RALPH      ROGERS      and     the       JOINT     ASSOCIATION         OF      S&S
18   TRUCKING AND ROGERS TRUCKING                      for MONOPOLIZING the
19
     trucking. There was a dispute over the hauling for
20
     the BART to SFO a project worth $2'6 million.
21
            59.In 1998 Lavaughan Moore visited Plaintiffs
22
     attorney        offices       at     2    Embarcadero          and    verified
23

24
     plaintiffs claims of a GROUP BOYCOTT by the CO-OP.
25   MOORE also revealed that the CO-OP was actually a
26   SHAM and was used by ROGERS and NAVARRO to continue
27   ROGERS MONOPOLY           and racketeering operations.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 3 3
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 1
                    GRAVE MISCARRIAGE OF JUSTICE
 2
           60. This INDEPENDENT ACTION also meets the GRAVE
 3
     MISCARRIAGE OF JUSTICE STANDARD because plaintiff is
 4

 5
     without        fault      and      according         to     WHISTLEBLOWERS

 6   co-conspirators members of the CO-OP is PLAINTIFF IS
 7   A    TOTALLY INNOCENT VICTIM TARGETED BY THE CO-OP.
 8           61. Ater the Co-Conspirators CO-OP members came
 9
     forward with          the    truth the         leaders of the CO-OP
10
     defendant RALPH ROGERS and DEFENDANT STEVE NAVARRO
11
     the     JOINT ASSOCIATION OF S&S TRUCKING                        and ROGERS
12
     TRUCKING devised a plan TO DEFRAUD THE COURT.
13

14
          62. To deny that DEFENDANT Steve Navarro and

15   defendant ROGERS had nothing to do with the CO-OP.
16   That there was a CO-OP but that a man named KEVIN
17   LAWSON was the President and had always been the
18   President.
19
                JERROLD TAYLOR 6-23-99 DEPOSITION
20
                            PAGE 34 LINE 23-24
21
          63. Plaintiff as a result of the BOYCOTT by the
22
     CO-OP and the FRAUD ON THE COURT by the attorneys'
23

24
     and      the     CO-OP       leaders        have       lost      everything.
25   Suffered emotional distress with immense pain and
26   sorrow.      This happened at a time when plaintiff and
27   FAMILY was not allowed to grieve properly. Plaintiff
28
     seeks equity consideration from the Court.



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 3 4
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 1

 2
      PLAINTIFF HAS NO ADEQUATE RE:MEDY AT LAW
 3
         64. Attorneys named herein DECEIVED and failed to
 4

 5   notify            the         Court          of         the         criminal
 6   violations-obstruction                  of         justice.           Keeping
 7   CO-CONSPIRATORS/WHISTLEBLOWERS away from                          the Court
 8   by ignoring them and each of them failed to notify
 9
     the Court of the FRAUD ON THE COURT or the Civil
10
     Rights violations against plaintiff and the CO-OP
11
     con-conspirators who became whistleblowers.
12

13

14
               EXTRAORDINARY DETRIMENTAL ACTS OF ATTORNEYS

15                     ACTING IN CONCERT TOWARD THE COURT
16

17                  UNUSUAL AND SPECIAL CIRCUMSTANCES
18
        65. Defendant attorneys and each of them conspired
19
     and joined forces to block the meritorious claims of
20
     plaintiff, violating court orders ' and betraying and
21
     violating          14th       amendment           due      process            laws
22

23
     mis-leading plaintiffs.

24          66.     Keeping        the     co-conspirators           who     became
25   whistleblowers away from the Courts. Threatening the
26   life         of         one         whistleblowers              witness (Ace
27
     Washington) who         were     also      injured.       Threatened           and
28
     oppressed for seeking Justice thru the Courts.


     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 35
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 1

 2
          67. THE SHEER NUMBERS OF ATTORNEYS All Confederated
 3
     and joined the conspiracy that committed EXTRINSIC
 4

 5
     FRAUD     ON     THE    COURT.       And    defendant WILSON/DANIELS

 6   working with the HUD reps.
 7   Helen Mohr, Joan Hall and Chuck Hauptman violated
 8   plaintiffs 14th Amendment Rights of Due Process and
 9
     42 USC 1983.
10
           69. BY making representations to the Court that
11
     they      knew         were     false.        Fabricating           documents,
12
     Altering         documents,          Misleading           the      Court         and
13
     concealing from the Court DIRECT EVIDENCE testimony
14

15   of    CO-CONSPIRATORS/WHISTLEBLOWERS                      that     would         have
16   created an OPEN AND SHUT case for plaintiff.
17          70.     NOTE:    the CO-OP was organized by defendant
18   ROGERS       and    defendant        NAVARRO       ostensibly         to    share
19
     work on a ROTATIONAL BASIS with LOCAL TRUCKERS.
20
              71.     But     the    CO-OP      was     actually        created         by
21
     defendant ROGERS AND STEVE NAVARRO to seek immunity
22
     from prosecution and lawsuits like the action filed
23

24
     by     plaintiffs.         According         to     the     CO = CONSPIRATORS
25   turned WHISTLEBLOWERS they found out the CO-OP was
26   nothing but a SHAM.
27

28
          72. CO-OP FICTITIOUS BUSINESS LICENSE 181799



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [ Pleading t itle summary] - 36
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 1
        Steve      Navarro,        Bernistine           Beasley    and     LaVaughan
 2
      Moore
 3
      OFFICIAL       NEWSPAPER        OF     THE     BAY    AREA     TRUCKERS AND
 4

 5
      CONTRACTORS              FICTITIOUS           LICENSE        175450             Ace

 6    Washington and Steve Navarro
 7

 8     73. The OBSTRUCTION OF DEFENDANTS BOONE/MANN
 9
            BOONE REFUSED TO DO DISCOVERY accommodated
10
      defendants attorney by refusing to . do discovery send
11
      out interrogatories-nothing was ever known about
12
      defendants.          Filing PK complaint January 1997 and a
13

14
      request       production        of     documents       March       1997     NEVER

15    COMPLETED
16   also Refused to amend PK complaint in accordance with
17    Court Orders.
18
      Never sought INJUNCTIVE RELIEF
19
        74.pril 1998 Taking on the representation of both
20
      the     PLAINTIFF         PK     and     DEFENDANT            CO-OP       member
21
      LAVAUGHAN MOORE AND FRAUDULENTLY filing a complaint
22

23
      in     CO-OP       member        Lavaughan           Moore's       name         with

24    IDENTICAL CLAIMS as PK.
25      75. Fraudulently altering 1/21/99 Lavaughan Moores
26    requested          substitution              of      attorney        form         by
27    intentionally           signing        (John      Boone)     name      in       line
28
      intended to client.



      INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [Pleading title summary] - 3 7
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 1   Failing to turn substitution of attorney 1/21/99
 2
     concealing the substitution from the COURT and
 3
     Lavaughan Moore.
 4
          WHEN MOORE FOUND OUT IT HAD NOT BEEN TURNED IN
 5
          SHE RETURNED AND BOONE DREW A LINE ON HER NAME
 6

 7
          AND SIGNED IT-BUT AGAIN NEVER TO TURNED IT IN

 8    76. Continuing to prosecute LaVaughan Moore
 9     complaint after she dropped her case 1/21/99 to
10     defraud the COURT and Plaintiff PK.
11
         77. May 12,          1999 DEFENDANT JOHN BOONE AND MANN
12
     filing a FRAUDULENT DECLARATION OF JOHN DOE
13
     "In the course of interviewing potential witnesses,
14
     I discovered that the true name of said defendant is
15

16
     ROGERS"

17      78. Defendant BOONE/MANN mislead and DEFRAUDED THE
18   COURT and PREJUDICED plaintiff case by never served
19   ROGERS or notified the COURT OF THE CO-OP members
20   Lavaughan Moore,           Jimmie Potts, Ace Washington or Al
21
     Cain     who     came      to    his     office       with      FIRST         HAND
22
     INCONTROVERTIBLE EVIDENCE
23
     implicating Defendants ROGERS and Defendant NAVARRO.
24
        79. Defendant LAWYERS threatened and later sued
25

26
     WHISTLEBLOWERS in State Court later moved to Federal
27   Court. The firm that sued was the MBV Law firm
28   case # C 02-04561JSW.



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 38
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 1
        80. As part of the conspiracy Defendant BOONE/MANN
 2
     refused to follow court orders to amend plaintiffs
 3
     complaint        in accordance with the Court                        orders to
 4

 5
     amend      4     times      even       when      they      were      aware        of

 6   information from the Co-conspirators/whistleblowers
 7   Ace Washington, Lavaughan Moore, Jimmie Potts                                    that
 8   would AFFIRM plaintiffs allegations.
 9
           note: JIMMIE POTTS had also signed an attorney
10
                    client agreement with BOONE/MANN in February
11
                      1999 again to keep testimony away from the
12
                      court. BOONE/.MANN never filed complaint.
13

14
             Defendants only wanted the one MOORE complaint

15           to DEFRAUD and MANIPULATE THE COURTS
16         81..OBSTRUCTION                OF       JUSTICE           BY       KEEPING
17         CO-CONSPIRATORS                 (WHISTLEBLOWERS)                LAVAUGHAN
18
           MOORE , ACE WASHINGTON AND JIMMIE                          POTTS           AWAY
19
           FROM THE COURTS.
20
        82. CONSPIRING WITH DEFENDANTS TO ATTACK A MANDATE
21
        FROM THE SUPREME COURT OF CALIFORNIA.
22

23
        83. The MANDATE from the CALIFORNIA SUPREME COURT

24      came down in November 1998. The Appeals Court
25      finding criticized Defendant BOONE and Defendant
26      MANN for        A.    repeatedly not following the Courts
27
        Orders to Amend the Complaint in accordance with
28
        the Court orders and not completing Cartwright Act



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [ Pleading title summary] - 3 9
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 1     pleading and,
 2
           IN THE COURTS DISCUSSION:
 3
         84. The Justices criticized BOONE appealing from
 4
         the trial courts order and not the judgment
 5
         itself.
 6

 7

 8   85.     They also wondered that PK complaint
 9         contained THREE CAUSES OF ACTION and PK was only
10       appealing        the
11
         antitrust action. And is not appealing the
12
         dismissal of the UNFAIR COMPETITION cause of
13
         action.
14
       86. The JUSTICES stated That "PK could allege a
15
     GROUP BOYCOTT" "horizontal restraint" The Justices
16

17
     cited       several different types of restraints that
18    defendant BOONE could have used without DEFEATING
19   PLAINTIFF
20    CLAIMS        by alleging Human Rights • Commission or
21
       Government involvement.
22
      87. DEFENDANT BOONE had fraudulently inserted the
23
      allegation that the HUMAN RIGHTS or GOVERNMENTAL
24
      involvement         in the FRAUDULENT MOORE COMPLAINT and
25

26
      LATER IN PLAINTIFFS COMPLAINT                    as part of the

27    scheme        to use the NOERR PENNINGTON doctrine to
28    defeat plaintiffs claims.



     INDEPENDENT EQUITY ACT ION TO OVERTURN JUDGMENT[Pleading title summary] - 4 0
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 1
             88.    Instructed Defendant             BOONE       (the       antitrust
 2
             expert) that ' PK can allege a GROUP BOYCOTT.
 3
                    89.   The     APPEALS        COURT      stated          that    " we
 4

 5
             therefore       conclude       that      P&K     (PK)      should       be

 6           allowed      one     more      opportunity          to     amend       the
 7           complaint       to     attempt        to     cure        the     defect"
 8           Defendant BOONE/MANN after intentionally failing
 9
             4 times never intended to give plaintiff the
10
       "one more opportunity" allowed by the appeals
11
         court.
12
      89. With the overwhelming evidence against
13

14
      defendants CO-OP members CO-OP President Steve

15   Navarro and it' s organizer founder defendant Ralph
16    Rogers defendants sought to hire attorneys who
17    would fraudulently INFLUENCE, DEFILE and ATTACK and
18
      destroy the courts impartiality.
19

20
       90.         NOVEMBER 1998         To directly block PK claims,
21
     DEFENDANTS ATTORNEY BOONE AND MANN first failed to
22

23
     TIMELY respond to the APPEALS COURT MANDATE 30 days

24   from November 1998. plaintiff/appellant was AWARDED
25   COST.
26

27
         91.   December/January 1 9 9 9                     failed to amend
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 4 1
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 1
         complaint again twice in violation of APPEALS
 2
       COURT
 3
       ORDER directing and pinpointing the
 4

 5
               COMPLAINTS defeciencies.

 6

 7    92.   FEBRUARY 1 9 9 9            Defendant BOONE AND DEFENDANT
 8
         MANN violated the BAR RULES on MANDATORY
 9
         SETTLEMENT PROCEDURES.               Refusing to attend or pay
10
         the filing
11

12
         fee for the settlement scheduled April 5 , 1999.
13    93.    FEBRUARY 1 9 9 9             ATTORNEY DEFENDANT BOONE
14

15
            MANN FRAUDULENTLY REFUSING TO INFORM THE COURT
16

17
            THE INFORMATION THAT COULD SETTLE THE
18          CASE
19
            94. Lavaughan Moore, Ace Washington and Jimmie
20
            Potts had come to the offices of BOONE/MANN and
21
            admitted       DEFENDANT        CO-OP,        ROGERS     and    NAVARRO
22

23
            participation          and     conspiracy         to    BOYCOTT         and

24          destroy      PK    TRUCKING       and     Defendant       ROGERS and
25          NAVARRO        threats          against         the      legal          and
26          administrative          agencies        and    his     intent     to go
27
            after the legal system.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 4 2
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 1             95. Defendants hired a new law firm defendant
 2
           EDWIN WILSON           and ALISON DANIELS to DEFRAUD THE
 3
           COURT by creating a LAW AND                       MOTION        DUMP of
 4
           plaintiff complaint and strip plaintiff of the
 5
           chance for recovery.
 6

 7            1. KEEP WHISTLEBLOWERS MOORE, WASHINGTON, POTTS
 8         AND AL CAIN AWAY FROM THE COURTS.
 9
           2. CONSOLIDATE PLAINTIFFS CASE MARCH 25, 1999
10
           WITH DEFENDANT CO-OP MEMBER LAVAUGHAN MOORE
11
           FALSELY CLAIMING FALSELY THAT ALL PARTY AGREED
12
           TO THE CONSOLIDATION.
13

14
         96. Why would plaintiff ever agree to a

15       consolidation with defendant CO-OP member MOORE?
16    when my case was scheduled for settlement
17    conference 4/5/99 and trial and my trucks had been
18
      towed and I was grieving the Death of my Brother
19
      and partner in PK Dwight Kinnard had all of us
20
      believing in defendant BOONE.
21
             97. Not paying fees and refusing to appear at
22

23
     the April 5,          1999 MANDATORY SETTLEMENT · CONFERENCE.

24   Defendant        without       plaintiffs        knowledge         agreed      to
25   continue trail and settlement conference even though
26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 4 3
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 1

 2
     they had all the witnesses necessary to prove
 3
     efendants S&S and ROGERS liability.
 4

 5
           98.    Though      defendant        DANIELS       claims     it    was    a

 6    complex       antitrust         seeking       to     cancel       plaintiffs
 7    trial, once the scheme was complete defendant filed
 8    for motion for judgment on the pleadings in 60 days.
 9
             THE       ASSAULT           ON      THE       APPEALS           COURT
10

11
      MANDATE            by defendant DANIELS ON APRI L
12
      2 7 , 1 9 9 9 TRANSCRI PT
13
             PAGE 2 LN 20 Hon Judge Quidachay
14

15                    "the parties have agreed in the stip that
16    claims      alleged       substantially          the     same     facts       and
17    questions of law"
18
                     THE COURT:         So this is my question if you
19
      have the same similar facts and the COURT OF APPEAL
20
      UPHELD     the     PARTICULAR        COMPLAINT (THE         PK COMPLAINT)
21
      "hey go forward to trial"
22

23
                 DEFENDANT ALISON DANIELS: But LORD PENNINGTON

24    WAS NOT MENTIONED" "IT WAS RAISED IN PETITION TO THE
25    SUPREME COURT BUT THERE IS NO -- YOU KNOW THEY JUST
26    DENIED IT" .
27

28




      INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 44
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 1

 2
       82.     Defendant         DANIELS       perjured         herself       FALSELY
 3
     influencing the COURT to mislead the COURT to bring
 4

 5   in the NOER PENNINGTON DOCTRINE which was never part
 6   of plaintiff lower court filings.
 7             83. So if not for the FRAUDULENT MISLEADING
 8   presentation          by    at    the     April      27,    1999      Defendant
 9
     DANIELS,
10
     remember plaintiff had already won his appeal.
11
             84. Plaintiff are unsophisticated layman in law
12
     and     were      misled         by   DEFENDANT         BOONE/MANN          in   a
13

14
     conspiracy directed toward the COURTS machinery.
15                85. Act by DEFENDANTS BOONE/MANN and later
16   BRISSON in the federal action were unconscionable
17   with plaintiff in the middle of grieving his late
18
     BROTHER, MOTHER and NEPHEW.
19
             86. There is just no way plaintiff would have
20
     agreed to consolidate his case, not try to settle at
21
     the scheduled settlement conference April 5, 1999 or
22

23
     move     plaintiffs         trial      date.     Defendants BOONE/MANN

24   simply connived for plaintiffs defeat.
25          87.     Defendants BOONE/MANN had no compassion and
26   allowed plaintiff to be runover and FAMILY destroyed
27
     decades old business destroyed.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [ Pleading title summary] - 4 5
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 1

 2
     88. Defendants WILSON/DANIELS                    then embarked on an
 3
     extraordinary          attack       on     a    COURTS       MANDATE.          The
 4

     actions      of    defendants         attacking        mandate,        keeping
 6   whistleblowers            away   from     the     Court     FABRICATING         a
 7   complaint       in    a    defendants          name    (LaVaughan       Moore)
 8   making them a plaintiff. Defendant sought to DECEIVE
 9
     the Court and defendant the egregious action toward
10
     the Court.           Defendant DANIELS action also acted to
11
     affirm plaintiff claims.
12

13                   SEE ATTACHED APRIL 2 7 , 1 9 9 9
14
                                      TRANSCRI PT
15

16

17

18                        THE FEDERAL COURT ACTION
19

20
         DEFENDANTS ATTORNEYS' CONSPIRED WITH CLAUDIA

21
     BRISSON AND DISBARRED ATTORNEY BEN LUSK WORKING OUT
22

23
     OF THE OFFICES OF DEFENDANT FRANK DEBENEDETTO TO

24   COMMIT FRAUD ON THE COURT.
25
        89. After plaintiff and whistleblowers filed in
26

27   Federal Court C99-4565 MMC filed 10/13/99 and
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 4 6
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     1

 2
         C02-3213 MMC          defendants formulated another scheme
 3
         to defraud the Court.
 4

 5                       DEFENDANT CLAUDIA BRISSON
 6
         90. In 2002 LaVaughan Moore was attempting to help
 7

 8
         Al Cain and Jimmie Potts, who were being retaliated

 9       against by ROGERS & S&S, with their claims. They had
10
         been calling Defendant Claudia Brisson also.
11

12          91.     On October 13, 1999 plaintiff filed a case in
13
         Federal District Court against defendants S&S and
14
         ROGERS et, al.          Defendant CLAUDIA BRISSON aided
15

16       plaintiff in preparing the complaint.
17
            92. Defendant CLAUDIA BRISSON even though we had
18

19       friendly relationship with plaintiff and partners
20
         Dwight Kinnard and Bernett Porter over the years,
21
         she made it clear at that time that she could not
22

23       represent PK in the complaint before the Court.
24
             93. On April 5, 2002 plaintiff filed a motion to
25

26
         amend complaint but failed to attach a copy of the

27       amendment to the motion.
28




         INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [ Pleading title summary] - 4 7
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     1   94. Immediately after receiving order from the Court
     2
         on April 30, 2002 plaintiff filed another motion to
     3
         amend the complaint this time attaching the proposed
 4

 5       amended complaint as required by Court rules and due
 6
         to    be heard on June 7, 2002 . docket 61
 7

 8
               95.      The Courts May 18, 2002 Order stated that
 9        plaintiff had failed to attach the proposed amended
10
          complaint but had cured the deficiencies by filing a
11

12        second motion with the proposed amendment attached.
13
          The Court also stated that plaintiff amendment
14

15
          sought the same relief.

16                96.     The amendment was an in depth
17
          investigation and covered all causes of action
18

19        except - we wanted to amend again soon to add the
20
          CO-OP, who were essential part of ,the racketeering
21
          operation and           behind the boycotts the threats and
22

23        retaliation of African American truckers and because
24
          that too had never been adjudicated.
25

26

27

28




          INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [Pleading title summary) - 4 8
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 1

 2         97. Causes action were: Breach of Contact, fraud
 3
     & deceit,violations of 42 U.S.C. 1985 & 1983, UNRUH
 4

 5   ACT Unfair Trade, False Claims Act, RICO, INJUNCTIVE
 6
     RELIEF, S.F. False Claims Act, COLLUSION in
 7

 8
     CONTRACTING, Breach of Statutory Duty, 4101-407,

 9   Fair Housing, Sherman Act, Cartwright Act, JUDICIAL
10
     NOTICE Witness Declarations.
11

12            98. It was especially difficult for me to do
13
     the work, but I got help from some law students.
14
     Plaintiff was now suffering from severe depression.
15

16       99. Plaintiff was under extreme pressure, my
17
     MOTHER was suffering from Cancer and plaintiff had
18

19   to go over to my MOTHERS'house every morning (she was
20
     so weak) to help with her meals and the recent death
21
     of plaintiffs nephew who use to dispatch for the
22

23   company.
24

25

26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 4 9
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 1

 2

 3
       IT WAS EXTREMELY PAINFUL WHEN I VISITED MY MOTHER
 4

 5       She would say
 6
                     "son you got to stop losing everything" .
 7

 8
                        She would die a couple months later

 9          also on a November day like my Brother Dwight
10
            Kinnard around Thanksgiving
11

12    100 . As I stated this was compounded by my still
13
     grieving for my brother Dwight Kinnard who died in
14
     November 1998. But plaintiff would finally have a
15

16   complaint that fully plead all the injuries
17
     defendants had caused plaintiff and the company .
18

19
         101. During the week after plaintiff filed the
20   amended complaint .             Defendant BRISSON out of the
21
     blue began calling plaintiff . Our first conversation
22

23   read like this:
24
     brisson: "why do you want to keep this going"
25

26
     plaintiff: "hey are willing to take my case we'll go

27   out and get you all the help we can find"                            brisson:
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [ Pleading title summary] - 5 0
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 1

 2

 3
          "no I told you before I'm a single mom "
 4

 5             "but if you would withdraw the amended
 6
     complaint
 7

 8
            I could get you money to get your trucks out of

 9               the City Tow storage yard"
10
       plaintiff: "no I· have no intentions ever of
11

12      dropping my complaint thinking the devastating
13
           harm they caused, the loss of my
14
           trucks, death in the Family unpaid funeral bills
15

16             my Family
17
              brisson:       "if you withdraw the complaint I can
18

19         get your trucks out"
20               Plaintiff: how could she get 25k to get the
21
               trucks out-license them and garage them
22

23               in a yard to avoid future towing? .
24
               Besides Defendants BOYCOTT hadn't been lifted
25

26
            102. Also the Family wondered and feared that

27          she might        be talking with defendants attorney.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 51
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 1         and tell them how badly the Family was doing.
 2        But our Family
 3
          discussed
 4

          the BRISSON proposal and we decided absolutely no
 6
         to    dropping our complaint.
 7

 8
          103.     Then defendant BRISSON began calling

 9     plaintiff incessantly, every ten minutes for
10
       several days -begging plaintiff to withdraw the
11

12     amended complaint.
13
       104. During the first week in May 2002, defendants
14
       began filing          with the District Court opposition to
15

16     plaintiff's motion to amend.
17
       105. Defendant Wilson filed a motion for judgment
18

19     on the pleadings on May 8, 2002 docket 65                          and an
20
       Opposition to plaintiffs amendmen,t on May 14, 2002
21
        docket 69.
22

23        It seemed plaintiff without an attorney had
24
     finally filed documents IN FRONT of defendants it
25

26
     cheduled MOTIONS and would                be heard on June 7, 2002

27

28




      INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 52
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 1    106. Incessant calls from defendant BRISSON
 2
     continued thru May 15, 2002.
 3
       107. May 18, 2002 SUDDENLY OUT OF THE BLUE BRISSON
 4

 5   called and said that she would take the case.
 6
     Plaintiff was elated and talked it over with the
 7

 8
     Family and the Council for Legal & Equitable Rights

 9   members and they agreed.
10
         108. Plaintiff MOTHER was happy that we might be ·
11

12   able to finally solve our problems and prosper
13
     again.
14
        109. Plaintiff signed a substitution agreement
15

16   with Defendant BRISSON and Craig Martin on May 18,
17
     2002      Craig Martin was in trial in Superior Court.
18

19       110. The first warning that something might be
20
         wrong was when defendant BRISSON told us that she
21
         would only be representing plaintiffs on the
22

23      FALSE CLAIMS matters only.
24
         111. This was not part of the agreement plaintiff
25

26
         had made with defendant BRISSON when she suddenly

27       said she would take our case.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 53
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     112. On May 23, 2002 Defendant entered the
 1

 2   substitution on between docket no 75-76 it had no
 3
     number .
 4

 5
        113. On May 22, 2002 docket 72 EX-PARTE

 6    APPLICATION
 7
        before Judge Maxine Chesney to continue                        matters
 8

 9    set for May 24, 2002 continued to July 18, 2002.
10
      114.      SIX DAYS later on May 29, 2002 docket 77
11
      after substituting in on plaintiffs behalf
12

13    Defendant BRISSON ALTERED THE May 22, 2002 EX PARTE
14
     APPLICATION by
15

16
      adding in that Plaintiff was NOW WITHDRAWING his
17    MOTION TO AMEND. Something Defendant BRISSON had
18
       been fraudulently trying to do for nearly 3 weeks.
19

20      115. The action of defendant BRI�SON falsely
21
     stating that plaintiff wanted to WITHDRAW his
22

23
     amended complaint was a conspiracy between defendant

24   BRISSON, Defendant Wilson and Defendant Daniels.
25
        116.     Defendant BRISSON FRAUDULENTLY withdrawing
26

27   the
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 54
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 1    amended complaint i.e. (plaintiffs case) left
 2   plaintiff in the line for a BLOW TORCH of motions
 3
     filed by scores of defendants and due for response
 4

 5   by plaintiff who would soon be without an attorney
 6
     again.
 7

 8
     117. Immediately after filing the FRAUDULENT

 9   ALTERATION
10
      against plaintiff Family wishes: Defendant - BRISSON
11

12   told
13
      the Family that she wanted to substitute out.
14
         118. After Defendant BRISSON threatened
15

16   repeatedly to          defame plaintiff by telling Judge
17
     Chesney that Plaintiff was suffering from Depression
18

19   plaintiff and the Family had no choice but to sign
20
      the substitution.
21
            119.    Defendant WILSON and DANIELS conspired
22

23    with defendant CLAUDIA BRISSON (BRISSON) to
24
      represent falsely to the Court that she                         BRISSON
25

26
      would substitute in and represent plaintiff who was

27    without and attorney.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 55
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 1   120. BRISSON representation to the COURT were
 2    FALSE and known to be FALSE by defendant BRISSON­
 3
        BRISSON when she made them.
 4

 5         121.     Defendant BRISSON only intention was to
 6
      WITHDRAW plaintiffs amended complaint (his case)
 7

 8
      RESIGN and place defendants MOTIONS in front of

 9    plaintiffs and leave plaintiff without counsel to
10
      face defendants who would have the advantage alone.
11

12       122. The FRAUD ON THE COURT by defendant BRISSON
13
      calling plaintiff incessantly at a time when the
14
      Family was attending to our Beloved Mother who was
15

16    dying.
17
      123. By begging plaintiff for 2 weeks to drop his
18

19   case and by dishonestly intervening from outside of
20
     the case to FALSELY influence the Court to deceive
21
     the Court into thinking she would represent
22

23   plaintiffs before the Court when defendant BRISSON
24
     had no intentions of honest service.
25

26
         124. By not reporting to the Court her contacts

27   with defendant WILSON, DANIELS intentions to defraud
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 56
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     1

 2       the COURTS by having defendant BRISSON intentions to
 3
         interfere with the COURTS and WITHDRAW AMENDED
 4

 5       COMPLAINT BY calling offering money to plaintiff to
 6
         retrieve his trucks from storage
 7

 8
         are OBSTRUCTION OF JUSTICE and FRAUD ON THE COURT.

 9           125. Defendant BRISSON had a duty to report to t
10
         he improper contacts from defendant-s WILSON and
11

12       BRISSON.
13
          Defendants again rather than SETTLE when defendant
14
         BRISSON wouldn't tell me where the money was coming
15

16       from
17
         violated the RULES of PROFESSIONAL CONDUCT.
18

19           126. Defendants were able to rely on the
20
         dishonesty of BRISSON to the detriment of plaintiffs
21
         FAMILY who
22

23       would soon lose it's MOTHER and had already suffered
24
         years of hurt and pain.
25

26
             127. Defendants BRISSON, WILSON and DANIELS

27       actions were immoral and unconscionable and caused
28




         INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 5 7
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 1

 2   PREJUDICED TO PLAINTIFF CASE.                  It devastated the
 3
     Family who couldn't believe it happened and set
 4

 5   plaintiffs up for the next FRAUDULENT actions that
 6
     were directed at the Court.
 7

 8
           DISBARRED ATTORNEY BEN LUSK AND FRANK

 9   DEBENEDETTO
10
         128. Exhausted and now looki-ng for an attorney
11

12   again, plaintiff was at the Hastings Law Library in
13
     June 2002 trying to get some law students to help
14
     with the case.
15

16             DEFENDANT WILSON/DANIELS CONTINUE
17
                       TO DEFRAUD THE COURT
18

19       NOTE: 129. One month later after defendant
20   BRISSON subbed out and Craig Martin docket 83
21
     Defendants WILSON and DANIELS used WILSON friend
22

23   LUSK to defraud the COURT AND PLAINTIF by
24
     substituting and individual defendant FRANK
25

26
     DEBENEDETTO (DETTO) with intentions to defraud the

27   COURT and plaintiff. docket 86
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 58
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 1

 2

 3
     130 . While standing in the aisle, plaintiff was
 4

 5   approached by          Defendant attorney Gary Timothy Lee
 6
     (LEE) . He told me he was a lawyer and a doctor and
 7

 8
     that was luxury because it helped him solve injury

 9   problems .
10
         131 . He told me that he - knew a guy that would put
11

12   me in touch with an attorney. His name was Ted
13
     Alves . Ted Alves gave me the name of Ben Lusk and
14
     stated that you have to call him, he won't call you .
15

16       132. Plaintiff met with defendant BEN LUSK (LUSK)
17
     at a chinese restaurant in north oakland. Defendant
18

19   blow torch motions were               now due and defendant LUSK
20   took my papers and came back with documents he filed
21
     in response to defendant request for a more definite
22

23   statement .
24
     DHETTO stripped plaintiffs essential CAUSES OF
25

26
     ACTION docket 84 .

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 59
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 1

 2

 3
         133. Defendant wanted us to use attorney
 4
     defendant FRANK DEBENEDETTO (DETTO) so LUSK
 5

 6   presented plaintiff with a substitution form and
 7
     plaintiff signed it.
 8

 9     134. When plaintiff received the form substitution
10
     back unbeknownst to pl�intiff it had been
11
     FRAUDULENTLY backdated by defendant DETTO .
12

13   129 When plaintiff repeatedly asked defendant LUSK
14
     about meeting DETTO, LUSK would delay it . On one
15

16
     occasion LUSK called me and said DETTO wanted to

17   meet me and that he was in trial at an Oakland Court
18
     house.
19

20   135.     Twenty minutes after plaintiff was in route to
21
     meet DETTO, LUSK called and said FRANK had to leave
22
     and he won't be there .
23

24    136. After not being able to meet DETTO, plaintiff
25
     demanded an attorney client agreement. DETTO used
26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 60
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 1

 2   the U.S . MAILS, by mailing me a copy of an attorney
 3
     client agreement with another person name on it.
 4

 5      137. I sent a fax to defendant LUSK telling him
 6
     about the form , it must be a mistake. Defendant
 7

 8
     LUSK said the form would still be valid if plaintiff

 9   crossed the other clients name off and inserted his
10
     own.
11

12       138. Defendants DETTO and LUSK defrauded the
13
     COURTS and plaintiff for a year, until plaintiff
14
     fired both defendants LUSK and DETTO. Plaintiff
15

16   demanded that LUSK get a substitution from DETTO and
17
     file it.
18

19
         139.     On June 6 2003            DETTO substituted out and
20       filed with the COURT a FRAUDULENT DECLARATION
21
        swearing FRAUDULENTLY that he had conferred with
22

23      plain.tiff on two occasions and that it was
24
     extremely difficult due to plaintiff RAILING at his
25

26
     enemies. We never met or conferred.

27

28




     INDEPENDENT EQUITY ACT ION TO OVERTURN JUDGMENT[Pleading title summary] - 61
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 1

 2     140. The scheme worked in PREJUDICE TO PLAINTIFFS
 3
     CASE and sabotaging plaintiffs filings with the
 4

 5   Court and allowing defendant S&S and ROGERS to
 6
     continue       to BOYCOTT plaintiff.
 7

 8
         141. DISBARRED attorney BEN LUSK (a friend of

 9   defendant Edwin Wilson) and partner of defendant
10
     Frank Debenede·tto to serveil and approach the CO-OP
11

12   whistleblowers obtain an agreement to work on the
13
     Court filings and then make FALSE incomplete filings
14
     in their name sabotaging filings with
15

16   misrepresentations to the COURT
17

18

19
       142.      The fraud and conspiracy SCHEME was so well
20   planned that Once Defendants LUSK/DEBENEDETTO
21
     defendants completed the SABOTAGE:
22

23   Defendants were able to manipulate the COURT THRU
24
      FRAUD by       FALSELY claims LUSK was our OWN CHOICE
25

26

27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JODGMENT[Pleading title summary) - 62
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 1

 2

 3

 4
              FIRST          CAUSE OF ACTION
 5
      EXTRINSIC FRAUD ON COURT MISREPRESENTATION BY
 6
     ATTORNEYS: ATTORNEYS HAD A DUTY TO THE COURT
 7

 8       143. Plaintiff repeat and reallege each and every
 9
      allegation in the paragraphs above.
10

11   144. Defendant action in the State Court case by
12   filing a FABRICATED complaint in the name of
13
     Lavaughan MOORE 994396 in June 1998, with full
14

15   knowledge that MOORE was named by plaintiff as a
16
     co-conspirator and was part of the CO-OP. A
17

18
     SCHEME to prevent MS MOORE from appearing in the

19   PROPER CAPACITY dn the CO-OP from appearing and To
20
     make FALSE representation to the Court mislead the
21

22   Court      prejudiced plaintiffs case and succeeded in
23
     making it impossible for the Court to be impartial.
24
         145. The filing of FABRICATED DOCUMENTS that
25

26   plaintiff and CO-OP co-conspirator wanted
27
     consolidate their cases without notification to
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 6 3
         Case 3:22-cv-02534-SK Document 1 Filed 04/26/22 Page 66 of 81



       plaintiff or co-conspirator LaVaughan Moore mislead
  1

  2    defiled the court,            prejudiced plaintiffs case and
  3
       succeeded in plaintiff never fully presented his
  4

  5
       case to the Court. DEFENDANTS MAKING BELIEVE THAT

   6   REAL NON CORRUPT LITIGATION WAS GOING ON
  7
             146. Defendants BOONE/MANN amending the
   8

  9     FABRICATED COMPLAINT and DEFENDANT WILSON AND
 10
       DANIELS responding to the FABRICATED COMPLAINT
 11
       constituted FRAUD ON THE COURT.
 12

 13       147.     In November 1998 to February 1999 the
 14
        willful act by Defendants BOONE/MANN of keeping
 15

 16     co-conspirators who became whistleblowers away from
 17
        the Courts.
 18
            148. AND failure to notify the Court of
 19

 20     whistleblower witnesses CO-OP meml;>ers Lavaughan
 21
        Moore, Jimmie Potts, Ace Washington and non member
 22

 23
       Al Cain who came to defendant BOONE/MANN offices on
. 24
       2 Embarcadero and Oak Street in San Francisco .
 25

 26

 27

 28




       INDEPENDENT EQUITY ACTION TO OVERTURN J0DGMENT[Pleading title summary] - 64
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 1

 2     149. Co-conspirators Lavaughan Moore, Jimmie Potts
 3
     Ace Washington had evidence and incontrovertible
 4

 5   first hand testimony knowledge of CO-OP meeting 2
 6
     Saturdays a month wherein defendants LEADER OF co-op
 7

 8
     S&S and ROGERS gave orders to BOYCOTT plaintiff

 9   company from 1993 forward.
10
      · 150. Direct co-conspirator whistleblower ·
11

12   admissible evidence 1998 AND 1999 that would have
13
     ended the BOYCOTT and plaintiff without a doubt
14
     prevail on his claims. This constituted concealment
15

16   from the Court and lying to the Court.
17
     IT IS CLEAR THAT CON-CONSPIRATOR WHISTLEBLOWER
18

19
     TESTIMONY IS ADMISSIBLE IN COURT AND THAT A JURY
20   COULD ALSO INFER THAT WILFUL SUPPRESSION OF THAT
21
     EVIDENCE WOULD BE ADVERSE TO DEFENDANT
22

23      151. Failure to notify the Court that FRAUD ON THE
24
     COURT WAS OCCURRING and that DUE PROCESS and
25

26
     OBSTRUCTION OF JUSTICE and CIVIL RIGHTS VIOLATIONS

27   were occurring.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 65
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 1

 2       152. Retaliation reported BOONE/MANN/DENBENETTO
 3
     AND LUSK that co-conspirators whistleblowers were
 4

 5   now in 1998 being retaliated against Lavaughan Moore
 6
     and ACE WASHINGTON LIVES WERE BEING THREATENED MS.
 7

 8
     MOORE was being cheated out of money and DEFAMED.

 9       153. DEFENDANT ALISON DANIELS attacking the
10
     truthfulness of a COURT MANDATE 4/27/99 - illegally
11

12   influencing the           COURT with FALSE INFORMATION.
13
       154. Defendant HOLSINGER and KOSKELLA with full
14
      knowledge that Lavaughan Moore was a member of the
15

16   CO-OP and wanted drop her case on 1/21/99
17
     continued along with Defendant WILSON/DANIELS
18

19
     continued to prosecute the FABRICATED MOORE case.
20       155. The concerted effort CONSP,I RACY of defendant
21
     ATTORNEY BOONE/MANN HOLSINGER/KOSKELLA WILSON/DANIEL
22

23   in the filing of FABRICATED DOCUMENTS into the
24
     SUPERIOR COURT RECORD and continuing to file
25

26
     amendments State Court in February 1999, June 1999

27   and oppositions to the amendments of the FRAUDULENT
28




     INDEPENDENT EQU ITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 66
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 1

 2   DOCUMENT and having the COURT rely on the FRAUDULENT
 3
     DOCUMENTS constituted EXTRINSIC FRAUD by OFFICERS OF
 4

 5   THE COURT WHO HAD A DUTY TO THE COURT AGAINST
 6
     MISREPRESENTATION AND CONCEALMENT.
 7

 8
      156. As a result of the CONSPIRACY to DEFRAUD THE

 9   STATE COURT and FEDERAL COURT in using the
10
     fraudulent FABRICATED DOCUMENTS for · JUDICIAL NOTICE
11

12   on JUNE 14, 2002 DEFENDANTS                   and each of them have
13
     committed EXTRINSIC FRAUD ON THE COURT and have lied
14
     to the COURT, WILFULLY CONCEALED testimony by
15

16   co-conspirators who became whistleblowers
17
     information that would have help the COURT settle
18

19
     the case plaintiff who never had a chance to fully
20   exhibit his case to the COURT or be aided by the CO­
21
     conspirator/whistleblower FIRST HAND DIRECT
22

23   admissible EVIDENCE request the COURT invoke it's
24
     EQUITABLE POWERS and               OVERTURN the JUDGMENTS in
25

26
     plaintiff case 97-984153 and ENTER

27   JUDGMENT AGAINST DEFENDANTS ATTORNEYS
28




     INDEPENDENT EQUITY ACT ION TO OVERTURN JUDGMENT [Pleading title summary) - 6 7
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 1

 2   DEFENDANTS WHO HAD A MANDATORY RESPONSIBILITY TO
 3
     HONOR THE COURT.
 4

 5     157. As a result of defendant actions that caused
 6
     plaintiff and his FAMILY years of immeasurable pain
 7

 8
     and suffering the loss of the nearly 100 year old

 9   business plaintiff request special damages in excess
10
     of 100 million dollars
11

12        IN THE FEDERAL CASE C99-4565MMC
13
       158. DEFENDANTS EDWIN WILSON ALISON DANIELS,
14
     DISBARRED ATTORNEY and FRIEND OF EDWIN WILSON
15

16   DEFENDANT FRANK DEBENEDETTO AND DEFENDANT CLAUDIA
17
     BRISSON conspired to hire a DISBARRED ATTORNEY BEN
18

19   LUSK working out of the offices of FRANK DEBENEDETTO
20
     to make FALSE REPRESENTATIONS TO THE COURT IN AUG
21
     2002 filing plaintiff amendments mentioned HEREIN
22

23   that MISLEAD and DEFRAUDED THE COURT.
24
       152. The documents filings were FALSE and did not
25

26
     represent the FACTS and CONCEALED from the COURT

27   PLAINTIFFS MERITORIOUS CLAIMS.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 68
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 1

 2
        153. DEFENDANT LUSK/DEBENEDETTO withdrawal of
 3
     plaintiffs meritorious causes of action on Aug 9
 4

 5   were done for the benefit of DEFENDANTS WILSON and
 6
     DANIELS for their clients who were engaged in
 7

 8
     boycotting and racketeering monopoly operations.

 9   This concealment in August 2002 DEFRAUDED THE COURT.
10
         154. The backdating of a substitution of attorney
11

12   form by DEFENDANT FRANK DEBENEDETTO hereinafter
13
     (DETTO) in August 2002 constituted fraud on the
14
     court and fraud against plaintiff.
15

16      155. The sending through the U.S. MAIL by
17
     DEFENDANT (DETTO) AND LUSK of an attorney client
18

19   agreement to plaintiff that was in another clients
20
     name constituted MAIL FRAUD and DEFRAUDED THE COURT
21
     and PLAINTIFF.
22

23    155. The over the top mailing of a FRAUDULENT
24
     DOCUMENT wherein DEFENDANT (DETTO) had FRAUDULENTLY
25

26
     inserted plaintiff name on the lawyer client

27   document that was already filled out in one of
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 69
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         his (DETTO) other clients name was unconscionable
 1

 2       as plaintiff and our Family were suffering with
 3
         Funeral Bills and no money. The scheme continued to

         DEFRAUD THE COURT and was a desperate and greedy
 5

 6       attempt by defendants to stay on the PAYROLL of
 7
         defendant WILSON/DANIELS by sabotaging plaintiffs
 8

 9       claims.
     I
     i
                          SECOND CAUSE OF ACTION
10

11

12       CONCEALMENT, MISREPRESENTATION 42 USC 1985 VIOLATIONS
13
             156. Plaintiffs repeat and                   reallege each and
14

15           every allegation in the paragraphs above.
16
             Defendant ATTORNEYS named herein with                          DUTY TO
17
             THE COURT against FRAUD through the acts listed
18

19           above did conceal from the COURTS information
20
             that could have easily settled the meritorious
21

22
             case ended the boycott and gained                       plaintiff

23           relief for his Family.
24
             157. Defendant attorneys' abused and DEFILED the
25

26           COURT processes by filing FABRICATED DOCUMENT
27

28




          INDEPENDENT EQU ITY ACT ION TO OVERTURN JUDGMENT[Pleading title summary) - 7 0
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 1
     OBSTRUCTED JUSTICE 42 USC 1985, by refusing to take
 2   the statements of witnesses                  with admissible direct
 3
     evidence to PREVENT THE PARTY'S CO-OP members from
 4

 5   testifying so as to
 6
         shield defendants S&S and                  ROGERS from taking
 7

 8
         responsibility and accountability for their

 9       wrongs and         allow the defendants to continue the
10
         BOYCOTT of plaintiffs business and                       to threaten
11

12       the lives of and retaliate against coconspirators
13
         whistleblowers who came forward with FIRSTHAND
14
         admissible evidence.
15

16       158. As a result defendant ATTORNEY'S FRAUD ON
17
         THE COURT and OBSTRUCTION OF JUSTICE
18

19
         misrepresentation and preventing parties and
20       witnesses from testifying before the Court
21
         Defendants ATTORNEYS have committed EXTRINSIC
22

23       FRAUD on the COURT and preventing plaintiff from
24
         relief to save his business and life savings
25

26
         and caused immeasurable pain and suffering in

27       plaintiffs Family from the FRAUD.
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT [Pleading title summary] - 7 1
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 1

 2

 3

 4
                   THIRD CAUSE OF ACTION
 5
     42 USC 1983 AND FOURTEENTH AMENDMENT
 6

 7
       VIOLATIONS
 8

 9    159. Plaintiff repeat each and every allegation in
10
     the paragraphs. above.
11
       160 . DEFENDANT ATTORNEYS WILSON and DANIELS had a
12

13     conflict of interest also they were attorneys
14
      representing the S.F. HOUSING AUTHORITY and The
15

16    Housing URBAN DEVELOPMENT department. In fact on
17
     information and belief they were loaned over to
18
     CONSPIRING DEFENDANTS to oppose plaintiff and CO-OP
19

20   whistleblowers in the STATE COURT a�d FEDERAL
21
     ACTIONS.
22

23
       161. DEFENDANTS had a reputation documented in

24   Citizens wrongful injury claims of refusing COURT
25
     ORDERS and tying victims up in COURT for years.
26

27     162. Defendants attorney's Defendants WILSON and
28




      INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 7 2
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 1
     DANIELS acting under COLOR OF STATE LAW joined a

 2   Conspiracy with DEFENDANT ATTORNEYS BOONE/MANN
 3
     HOLSINGER/KOSKELLA to OBSTRUCT JUSTICE, PREVENT
 4

 5    the COURTS through EXTRINSIC FRAUD from hearing
 6
       from witnesses LAVAUGHAN MOORE, JIMMIE POTTS, ACE
 7
       WASHINGTON and AL CAIN with ADMISSIBLE DAMAGING
 8

 9     EVIDENCE from appearing before the court.
10
         163. In- doing the acts complained of here
11

12
         DEFENDANTS ATTORNEYS denied plaintiff PLAINTIFF
13       and CO-OP whistleblowers their right to DUE
14
         PROCESS and EQUAL PROTECTION under the FOURTEENTH
15

16     AMENDMENT and STATE LOCAL EQUAL PROTECTION LAWS
17
       PREJUDICED plaintiff and WHISTLEBLOWERS cases
18

19
       PREVENTED the SUBSTANTIAL RELIEF this HONORABLE

20     COURT would have ORDERED.
21

22

23

24

25

26
          LAWYER DEFENDANTS AIDED AND ABETTED
27

28
      DEFENDANT ROGERS NAVARRO AND THE CO-OP


     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT ( Pleading title summary) - 7 3
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 1
     164. Plaintiff repeat and reallege each and every
 2
     allegation in the paragraphs above.
 3

 4
     165.                          Defendants                             Attorney
 5

 6
     BOONE/MANN/HOLSINGER/KOSKELLA/
 7   WILSON/DANIELS/ELIZONDO/LUSK/DEBENEDETTO/BRISSON and
 8   other defendant attorneys succeeded through FRAUD ON
 9   THE COURT and
10
     OBSTRQCTION OF JUSTICE               PREVENTING co-conspirators
11
     and whistleblowers from appearing before the court
12
     with FIRSTHAND, INCRIMINATING TESTIMONY AND EVIDENCE
13
     against       DEFENDANTS         S&S    TRUCKING,         STEVE      NAVARRO,
14

15
     ROGERS TRUCKING the JOINT ASSOCIATION OF S&S and

16   ROGERS TRUCKING COMPANIES IN JOIN ASSOCIATION.
17       166.      That would forced the appearance of these
18   defendants        in    the     court      and    ENDED      THE     BOYCOTT,
19
     BLACKLISTING AND THREATS THAT HAS LASTED FOR YEARS
20
     and      BROUGHT        COURT        RELIEF       TO      PLAINTIFF           AND
21
     CO-CONSPIRATORS WHISTLEBLOWERS WHO CAME FORWARD IN
22
     THE INTEREST OF
23

24
     JUSTICE.

25

26   Feb 1998 co-op members file complaint against the
27   joint association of S&S and Rogers (joint assoc)
28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 74
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 1
     Feb 1998 joint association responds by threatening
 2
     complainants
 3
           167. Feb June 1998               HRC verifies complaint and
 4
     warns     joint      assoc against retaliating                   and    refers
 5

 6
     complaint to Fed Gov.

 7   Feb-1998- Joint Assoc does not respond or mount a
 8   defense concedes
 9   March      1998     Def     BOONE/MANN         file     bogus       complaint
10
     994396 with the State Court
11
     Defendant         attorneys         would      go     on    to      illegally
12
     prosecute        the     fraudulent        complaint        in    the    State
13
     Court system for months
14

15

16   LAWYER DEFENDANTS
17

18   168.BOONE/MANN/HOLSINGER/KOSKELLA/WILSON/DANIELS/BRI
19
     SSON/LEE/         AIDING      AND     ABETTING        DEFENDANTS         RALPH
20
     ROGERS       AND     STEVE       NAVARRO       IN     CONTINUING         BLOCK
21
     PLAINTIFF PATH            TO THE COURT              FOR ADJUDICATION BY
22
     DEFRAUDING THE COURT AND TO OPPRESS AND BOYCOTT THE
23
     MINORITY'S WOULD BENEFIT FROM THE PROGRAMS tn.1DER THE
24

25
     CCSF      12B      AND     12D      ORDINANCE         AND     THE      FEDERAL
26   REGULATIONS AND CIVIL RIGHTS ACT OF 1964.
27

28




     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary) - 75
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     169. THE ATTORNEYS NAMED HEREIN AIDED AND ABETTED THE
 1
     BOYCOTT OF PLAINTIFFS BUSINESS AND LATER RETALIATION
 2
     AGAINST         WHISTLEBLOWERS             LAVAUGHAN             MOORE,         ACE
 3
     WASHINGTON,         JIMMIE      POTTS     AND     AL    CAIN.          WITH    FULL
 4
     KNOWLEDGE        OF      THE    HISTORY       AND      OF        THE     VERIFIED

 6
     COMPLAINTS AGAINST THEIR CLIENTS.

 7            Defendant ROGERS and NAVARRO knew they had
 8

 9   170. PLAINTIFFS          ATTORNEY       DEFENDANT        BOONE          DEFENDANT
10
     MANN LUSK
11
     DEBENEDETTO (DETTO) BRISSON DEFENDANTS ATTORNEYS AIDED
12
     AND    ABBETTED        DEFENDANTS            SHIELDING           THEIR     CLIENT
13
     DEFENDANT STEVE NAVARRO AND DEFENDANT ROGERS FROM
14

15
     THE JURISDICTION OF THE COURTS.

16

17

18      171. The DEFENDANT ATTORNEYS BOONE/MANN HOLSINGER/
19
     KOSKELLA/WILSON/DANIELS/                                                 BRISSON/
20
     DEBENEDETTO (DETTO) LUSK as
21
     attorneys had a DUTY TO THE COURT against committing
22
     FRAUD. Because plaintiffs had no money due to the
23
     BOYCOTT and RETALIATION against WHISTLEBLOWERS
24

25   DEFENDANT         attorneys         unbeknownst             to     the         COURT
26   CONTROLLED         THE     COURTS       and     DESTROYED              AIDED    AND
27   ABETTED DEFENDANT S&S and ROGERS and the JOINT
28   ASSOCIATION OF S&S and ROGERS two companies in



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 7 6
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 1
     JOINT         ASSOCIATION         to      continue          the      inhumane
 2
     oppression boycott blacklisting and retaliation.
 3
      172. In doing the acts listed herein DEFENDANTS and
 4
     each of them have committed unconscionable acts of
 5

 6
     cruelty causing immeasurable pain and suffering

 7   and plaintiff is due special damages in the amount
 8   of 100 million dollars.
 9

10
        PRAYER:
11
        1. Plaintiff this Honorable Court of Equity to
12
         overturn judgments against plaintiff in State and
13
         Federal Court.
14

15
        2. Plaintiff request the Court of Equity to enter

16           judgment      against        DEFENDANTS         S&S       ROGERS       and
17           DEFENDANTS       ATTORNEYS         HOLSINGER, KOSKELLA/WILSON
18           and     DANIELS and against Plaintiffs attorney' s
19
             for EXTRINSIC FRAUD and other cause of action
20
             listed herein.
21
        3. The Court enter judgment against defendants for
22
              INJUNCTIVE RELIEF.
23
        4.    The Court enter judgment against defendants for
24

25           all CAUSES OF ACTION

26      5. The Court enter judgment against defendants for
27             (a) General damages according to proof
28             (b) special damages according to proof



     INDEPENDENT EQUITY ACTION TO OVERTURN JUDGMENT[Pleading title summary] - 7 7
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 1                 (c)    Attorneys fees according to proof
 2
                    (d)    Punitive damages in the amount of
 3
                           200 million dollars
 4
          and such other relief as the court may deed just.
 5

 6

 7   ATE: April 25 , 2022              Respectfully Submitted
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10                                        Kenneth K�nnar�
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